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Cl.§EF?K§:td_t;. ;";)'!§'§ _CT,
-v- 2:990R20158-01-D W'D' O’ ‘*"" "1“:'“’*’"“3

JOHNNY B. CAMPBELL
Doris Randle-Holt. FPD
Defense Attorney
200 Jefferson, Ste. 200
Memphis, TN 38103

 

*A*M*E*N*D*E*D* JUDGMENT IN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the |ndictment on February 3, 2000.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Offense Count
Title & section Eafw'eof__M MLlud_ed _Num_berisl
21 U.S.C. § 841(a)(1) Possession with |ntent October 27, 1998 1
to Distribute Cocaine
18 U.S.C. § 922(g) Fe|on in Possession of October 27, 1998 2

a Firearm

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’S Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 01/04/1970 June 8, 2000
Deft's U.S. Marsha| No.: 17036-076

Defendant’s |V|ei|ing Address:
5534 Hyacinth Ave.
I\/iemphisl TN 38115

    

ERNlCE B. ONALD
UN|TED STATES DISTR|CT JUDGE

June G , 2005

This document entered on the docket -heet in compliance
Wiih nine 55 and/or a2(b) irach on * 115

   

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Case No: 2:99CR20158-01 Defendant Name: Johnny B. CAMPBELL Page 2 of 5
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of *82 Months as to each count to run concurrent|y.

The Court recommends to the Bureau of Prisons:

That the defendant be incarcerated in a federal facility located near l\/|emphis,
Tennessee, if possible

That the defendant participate in the intensive drug treatment and rehabilitation
program.

The defendant is remanded to the custody of the United States |V|arshal.

RETURN

l have executed this judgment as folloWs:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UN|TED STATES MARSl-|AL
By:

 

Deputy U.S. Marsha|

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SUPERV|SED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 3 years as to Count 1 and 3 Years as to Count 2, said terms of supervised
release to run concurrently.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federalT state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

6. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
7. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

8. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

9. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

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10. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

11. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

13. As directed by the probation ocher, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsr and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

14. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

o The defendant shall participate as directed in a program (outpatient and/orinpatient)
approved by the Probation Officer for testing and treatment of narcotic addiction or
drug or alcohol dependency Further, the defendant shall be required to contribute
to the cost of services for such treatment not to exceed an amount determined
reasonable by the Probation Officer based on ability to pay or availability of third
party payment and in conformance with the Probation Office’s Sliding Scale for
Substance Abuse Treatment Services;

o *The defendant shall cooperate with DNA collection as directed by the Probation
Officer.

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CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$200.00 (paid)

The Special Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 72 in
case 2:99-CR-20158 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Thomas L. Parker

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

